
Monell, J.
It is by statute that in actions for divorce on ground of adultery, the court may, if the offence charged is denied, award a new or further trial of such issues, as often as justice shall seem to require (2 R. S., 145, § 40). And it is claimed, on behalf of the plaintiff, that she is entitled to the relief she demands under such provision. I have not been able to find any judicial construction of that statute, but &amp; I am of opinion that it has no application - to this case. The section was evidently intended to give the court power to award a new or further trial, after a trial of the issue made by the pleadings, of the adultery charged. It provides that if the offence is denied, the court shall direct an issue to be made, for the trial of the facts contested by the pleadings, by a jury, and may award' a new trial, &amp;c. The section does not relate to the trial of any other issues. Indeed the whole article where the section is to be found, relates solely to divorces on the ground of adultery. A party against whom such issue has been found by a jury, may have a second trial, if justice shall seem to require it. It cannot be that a plaintiff, who charges adultery by, the defendant, and is defeated in. .his action, can claim a new trial under the statutes referred to. In the case before me, the plaintiff’s suit was dismissed upon her failure to prove a marriage, and, upon the further ground, that she was incapable of contracting a marriage. The issue of the defendant’s adultery was not tried, it being unnecessary to try it, after the other issues had been found against the plaintiff.
I am satisfied that the plaintiff cannot claim the benefit of *19the statute to which I have referred. A defeated party, whose guilt of the offence has been established by the verdict of a jury, can alone avail himself of its provisions.
The Code provides (§ 174) that at any time within one year after notice thereof, the court may relieve a party from a judgment, order or other proceeding, taken agaipst him through his mistake, inadvertence, surprise or excusable neglect. But such provision limits the power to one year after notice, and is conclusive on this motion, as it is not claimed that the defendant had not notice of the judgment she seeks to open, at the time it was entered.
There is, however, another answer to this motion, which goes more to the merits of the application.
The only reason assigned for a new trial, is the evidence of marriage furnished by the partition suit; which it is claimed should conclude the defendant. Admitting that such effect would necessarily have to be given to the evidence suggested, there is still the other fact, which the plaintiff does not propose to controvert, namely, that at the time of her marriage to the defendant, she was a married woman. Such fact of itself rendered a marriage with the defendant wholly void. Bishop on Divorce, Vol. I, § 299.
Under any aspect, therefore, even though the court had the power to open the judgment, and this was a case in which such power should be exerted, the plairitiff would be without any substantial relief. Her former marriage stands as a perpetual bar to her claiming to be' the wife of the defendant. More than six years have elapsed since a solemn judgment of this corn’t was pronounced against the plaintiff. What new relations the parties, or either of them, have formed, does not appear. But the security and quietude wit’- ‘ ' h judgment has afforded, should not be disturbed, exc • f most clear and conclusive reasons.
I-find nothing in the papers before me wh- ■ ■ nnishes any such reasons.
The motion must be denied.
